                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                    Civil Action No.: 1:22-CV-342-LCB-JLW

 MATTHEW FREETAGE,                           )
                                             )
                     Plaintiff,              )
                                             )
       v.                                    )
                                             )               L.R. 5.5 Report
 DUKE UNIVERSITY HEALTH                      )
 SYSTEM, INC.,                               )
                                             )
                     Defendant.              )
                                             )

      Plaintiff Matthew Freetage, and Defendant Duke University Health System, Inc.

hereby submit the following Local Rule 5.5 Report:

      [X] Conference: The parties have discussed the issues of confidentiality raised in

      this case and the potential need for filing documents under seal. That discussion

      included the nature of any confidential documents that may be involved in the case,

      the possibility of using stipulations to avoid the need to file certain documents, and

      the possibility of agreed-upon redactions of immaterial confidential information in

      filings to avoid the need for filing documents under seal.

      [__] Non-Parties: Because a non-party has produced documents pursuant to a

      protective order or is otherwise claiming confidentiality over documents filed or




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expected     to   be     filed   in    this   case,    the    conference     included

___________________________ (identify non-party).

[X] Default: The parties certify that few, if any, documents will be filed under seal.

The parties agree to use the default procedures of LR 5.4(c). In addition, if the party

filing the motion to seal is not the party claiming confidentiality, the filing party

must meet and confer with the party claiming confidentiality as soon as practicable,

but at least two (2) days before filing the documents, to discuss narrowing the claim

of confidentiality. The motion to seal must certify that the required conference has

occurred, and the party claiming confidentiality must file supporting materials

required by LR 5.4(c)(3) within 14 days of the motion to seal.

[__] Alternative Proposal for Cases with Many Confidential Documents: In

order to address claims of confidentiality and reduce the need to file briefs and

exhibits under seal, the parties propose the alternative procedure set out in the

attached proposal, either jointly or as competing alternatives, for consideration by

the Court.

[X] Other relevant information: The parties will file a proposed Consent

Protective Order for the Court’s consideration.




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      This the 1st day of September, 2022.

/s/ Joseph D. Budd                           /s/ Tory Ian Summey
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                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing L.R. 5.5 Report was

electronically filed with the Clerk of the Court using the CM/ECF system which will

automatically send notice and serve same upon counsel of record via the Court’s electronic

case filing system.



       This the 1st day of September, 2022.


                                         /s/ Tory Ian Summey
                                         Tory Ian Summey, N.C. Bar No. 46437
                                         Eric A. Frick, N.C. Bar No. 49212
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